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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 22-20552-CR-GAYLES/TORRES(s)
18 U.S.C. § 371
22 U.S.C. §§ 612(a) & 618(a)(1)
18 U.S.C. § 1956(h)
18 U.S.C. § 1957
26 U.S.C. § 7206(1)
26 U.S.C. § 7201
18 U.S.C. § 981(a)(1)(C)
18 U.S.C. § 982(a)(1)

UNITED STATES OF AMERICA
Vs.

DAVID RIVERA and
ESTHER NUHFER,

Defendants.
/

SUPERSEDING INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

At various times relevant to this Superseding Indictment:

Defendants and Related Individuals and Entities

1. Interamerican Consulting, Inc. (“Interamerican Consulting”) was a Florida
corporation with its principal place of business in Miami, Florida.

2. Defendant DAVID RIVERA, a former member of the U.S. House of
Representatives and the Florida state legislature, was the president and registered agent of

Interamerican Consulting.
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3. Florida First was a political action committee established by DAVID RIVERA in
2016. RIVERA was the treasurer of Florida First and he had sole signatory authority over
Florida First’s bank account.

4. DAVID RIVERA, starting in or around March 2017, was a candidate for State
Representative in the November 2018 Florida election cycle. RIVERA was the treasurer for his
campaign and he had sole signatory authority over his campaign’s bank account.

5. Communication Solutions, Inc. (“Communication Solutions”) was a Florida
corporation with its principal place of business in Miami, Florida.

6. Defendant ESTHER NUHFER, a resident of Miami-Dade County, Florida, was
the president and registered agent of Communication Solutions. NUHFER was a professional
lobbyist and public relations and advertising consultant.

7. Company | was a Florida corporation with its principal place of business in Coral
Gables, Florida.

8. Company 2 was a Florida corporation with its principal place of business in Coral
Gables, Florida.

9. Individual 1, a resident of Miami-Dade County, Florida, was the president and
registered agent of Company | and the president of Company 2.

10. Individual 2 was an Orlando-based business and government relations consultant.

11. U.S. Oil Company | was a multinational oil and gas corporation headquartered in
the United States.

12. U.S. Senator 1 was a United States Senator from Florida.

13. U.S. Congressman | was a United States Congressman from Texas.
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14. | White House Advisor | was a senior advisor to the President of the United States.
Foreign Individuals and Entities

15. Petrdleos de Venezuela, S.A. (“PDVSA”) was the state-owned and _ state-
controlled oil company of Venezuela. PDVSA and its subsidiaries and affiliates were
responsible for the exploration, production, refining, transportation, and trade in energy
resources in Venezuela and elsewhere.

16. | CITGO Petroleum Corporation (“CITGO”) was a wholly owned subsidiary of
PDVSA. CITGO was PDVSA’s primary operating subsidiary in the United States with its
headquarters in Houston, Texas.

17. PDV USA Inc. (“PDV USA”) was a wholly owned subsidiary of PDVSA. PDV
USA was a non-operating subsidiary of PDVSA with an office in New York, New York.

18. | Nicolas Maduro Moros (“President Maduro”) was a Venezuelan national and the
President of Venezuela.

19. Delcy Eloina Rodriguez Gomez (“Delcy Rodriguez”) was a Venezuelan national,
a high-ranking PDVSA executive, and the Minister of Foreign Affairs of Venezuela.

20. Foreign Individual 1 was a Venezuelan national and a prominent businessperson
in Venezuela.

21. | Company 3 was a Florida corporation with its principal place of business in
Miami, Florida. Company 3 provided management services to the owners of high-end luxury
yachts, including Foreign Individual 1.

22. Foreign Individual 2 was a Venezuelan national and an attorney for PDVSA and

CITGO.
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23. Venezuelan Politician | was a member of the Venezuelan National Assembly.
24. Venezuelan Politician 2 was a member of the Venezuelan National Assembly.

The Foreign Agents Registration Act

25. The Foreign Agents Registration Act (“FARA”) was a registration and disclosure
statute that required any person agreeing to act or acting in the United States as “an agent of a
foreign principal” to register with the United States Attorney General if he or she agrees to
engage or engages, directly or through another person, in certain types of conduct, such as
political activities or public relations efforts or lobbying for or in the interest of the foreign
principal. Such registrations were made with the National Security Division’s Foreign Agents
Registration Act Unit within the U.S. Department of Justice and were made publicly available on
the U.S. Department of Justice’s website. It was a crime under FARA to willfully fail to register
when acting as the agent of a foreign principal.

26. A purpose of FARA was to prevent covert influence by foreign principals. Proper
registration under the statute allowed the United States government and the American people to
evaluate the statements and activities of individuals who were serving as agents of foreign
principals in light of their status as foreign agents. Among other things, a FARA registration
required the registrant to reveal the identity of the foreign principal on whose behalf the
registrant was performing services, the type of services the registrant was providing the foreign
principal, and the source and amount of compensation the registrant was receiving from the
foreign principal. In addition to other requirements, FARA required any registrant to disclose
the fact of his or her registration to any U.S. government official before conveying any political

propaganda to or requesting any information from the official.
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COUNT 1
Conspiracy to Commit Offense Against the United States
(18 U.S.C. § 371)
1. Paragraphs | through 26 of the General Allegations section of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth herein.
2. From in or around February 2017, and continuing through in or around December
2018, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants,
DAVID RIVERA
and
ESTHER NUHFER,
did willfully, that is, with the intent to further the object of the conspiracy, and knowingly
combine, conspire, confederate, and agree with each other to commit an offense against the
United States, that is, to willfully act and cause others to act in the United States as an agent of a
foreign principal, to wit, the Government of Venezuela, without registering with the Attorney
General as required by law, in violation of Title 22, United States Code, Sections 612(a) and

618(a)(1).

PURPOSE OF THE CONSPIRACY

3. It was the purpose of the conspiracy for the defendants to unlawfully enrich
themselves by engaging in political activities in the United States on behalf of the Government
of Venezuela, and by representing the interests of the Government of Venezuela before officials
of the United States government, in an effort to influence United States foreign policy toward
Venezuela, and to conceal these efforts by failing to register under FARA as agents of the
Government of Venezuela and by creating the false appearance that they were providing

consulting services to PDV USA.
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MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which the defendants sought to accomplish the object and
purpose of the conspiracy included, among other things, the following:

4, In or around early 2017, Individual | introduced DAVID RIVERA and
ESTHER NUHFER to Foreign Individual 1. In or around February 2017, Foreign Individual 1
sought the assistance of RIVERA and NUHFER to lobby certain United States politicians on
behalf of the Government of Venezuela. The ultimate goal of these efforts was to garner
political support in the United States for a normalization of relations between the United States
and Venezuela, to include resolving a legal dispute between U.S. Oil Company 1 and Venezuela
and preventing the United States from imposing additional economic sanctions against President
Maduro and other members of his regime.

5. To compensate DAVID RIVERA, ESTHER NUHFER, Foreign Individual 1,
and Individual | for their efforts on behalf of the Government of Venezuela, Delcy Rodriguez
ordered CITGO executives to enter into a consulting contract with RIVERA’s company,
Interamerican Consulting. The CITGO executives provided RIVERA with a draft contract
between Interamerican Consulting and PDV USA, which was an entity used by CITGO to
facilitate special projects that were ordered by executives from CITGO’s parent company,
PDVSA. The draft contract provided to RIVERA did not specify the identity of Interamerican
Consulting’s client and it left blank the description of the consulting services to be provided by
Interamerican Consulting.

6. In the course of finalizing the contract, DAVID RIVERA and ESTHER

NUHFER reviewed, at least in part, a number of FARA registration filings that were available
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for public viewing on the Department of Justice’s (‘DOJ’) FARA website. These FARA filings
had previously been submitted to DOJ by several corporate entities that had registered with the
Attorney General as agents of several foreign governments. RIVERA and NUHFER relied on
the content in these FARA filings to draft the description of services Interamerican Consulting
was to provide to its unidentified client pursuant to the PDV USA consulting contract.
Ultimately, the description of services drafted by RIVERA and NUHFER based on these FARA
filings was incorporated into the final PDV USA consulting contract in the “Scope of Services”
section of the agreement.

7. The final contract signed by DAVID RIVERA provided for five installment
payments of $5,000,000 each and a final payment of $25,000,000, for a total of $50,000,000,
over the course of three months. To bill PDV USA for these payments, RIVERA and ESTHER
NUHFER prepared invoices on Interamerican Consulting letterhead for payment from PDV
USA, which RIVERA sent to PDVSA executives in Caracas, Venezuela, using their official
PDVSA email addresses.

8. After the contract was signed, DAVID RIVERA, ESTHER NUHFER, Foreign
Individual 1, and others arranged for U.S. Congressman | to travel to New York City in early
April 2017 for separate meetings with Delcy Rodriguez and Venezuelan Politician 1 to discuss a
process for normalizing relations between the United States and Venezuela that would have the
support of both the Maduro regime and members of Venezuelan opposition parties.

9. Following these meetings in New York City, DAVID RIVERA, ESTHER
NUHFER, Foreign Individual 1, and others attempted to arrange a meeting between Delcy

Rodriguez or other members of the Venezuelan government and executives of U.S. Oil Company
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1, as requested and directed by the Government of Venezuela. U.S. Congressman 1 assisted
RIVERA, NUHFER, Foreign Individual 1, and others in this effort. The purpose of this
meeting that the Government of Venezuela was seeking was to resolve a longstanding legal
dispute concerning the Venezuelan government’s previous expropriation of U.S. Oil Company
l’s assets in Venezuela and to offer U.S. Oil Company 1 new business opportunities in
Venezuela. RIVERA’s and NUHFER’s efforts were not successful, however, and by early June
2017, U.S. Oil Company | declined the Government of Venezuela’s request for a meeting.

10. Between late March 2017 and mid-April 2017, Interamerican Consulting received
three of the installment payments, totaling $15,000,000, under the PDV USA consulting contract
through bank accounts controlled by CITGO and PDV USA. DAVID RIVERA divided these
funds in approximately equal amounts with ESTHER NUHFER, Foreign Individual 1, and
Individual 1, with a smaller amount paid to Individual 2 for her assistance in acting as a liaison
with U.S. Congressman 1. Over time, RIVERA, NUHFER, Foreign Individual 1, and
Individual 1 used their portions of these funds to pay for various personal and business expenses,
such as the purchase of real estate, payment of expenses for luxury yachts, and, in RIVERA’s
case, contributions to his campaign account for state office.

11. During the course of these events, DAVID RIVERA, ESTHER NUHFER,
Foreign Individual 1, and Individual 1 used email and encrypted text messaging services to
communicate with one another regarding their efforts on behalf of the Government of Venezuela.
In so doing, they frequently attempted to hide the subject matter of their discussions by using
code words to refer to certain individuals and other items. For example, RIVERA, NUHFER,

Foreign Individual 1, and Individual | referred to President Maduro as “El Guaguero” (the “Bus
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Driver”), U.S. Congressman 1 as “Sombrero” (the “hat”), money as “La Luz” (“The Light’) and
millions of dollars as “melones” (“melons”).

12. Beginning in or around June 2017, DAVID RIVERA, ESTHER NUHFER,
Foreign Individual 1, and Individual | refocused their attention on lobbying and attempting to
lobby U.S. government officials — including U.S. Senator 1 and White House Advisor 1 — in an
effort to further the Maduro regime’s goal of normalizing relations between the United States
and Venezuela. Although RIVERA and NUHFER were not able to meet with White House
Advisor 1, RIVERA and NUHFER did arrange two meetings with U.S. Senator 1. The first of
these meetings involved RIVERA and U.S. Senator 1 at a private residence in Washington,
D.C., during which RIVERA told U.S. Senator 1 that Foreign Individual 1 had persuaded
President Maduro to accept a deal whereby he would hold free and fair elections in Venezuela.
The second meeting was held at a hotel in Washington, D.C. and involved RIVERA, NUHFER,
U.S. Senator 1, Foreign Individual 1, Venezuelan Politician 2 (by telephone), and others, during
which matters relating to Venezuela were discussed. By mid-July 2017, however, Foreign
Individual 1 informed RIVERA, NUHFER, and Individual |] that President Maduro had refused
to agree to hold free and fair elections in Venezuela in exchange for reconciliation with the
United States.

13. Following the imposition of additional sanctions against a number of Venezuelan
individuals -- including President Maduro and his wife’s nephew (“Family Member 1”), a former
Venezuelan National Treasurer and PDVSA executive ~ in late July and early August 2017,
Foreign Individual 1 informed DAVID RIVERA, ESTHER NUHFER, and Individual 1 that

President Maduro and members of his regime once again wanted to negotiate with the United
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States to normalize relations and to obtain relief from the sanctions that had been imposed
against them. Accordingly, by September 2017, RIVERA and NUHFER resumed submitting
invoices to PDVSA officials for payment pursuant to the Interamerican Consulting contract with
PDV USA. Shortly thereafter, RIVERA and NUHFER sought to identify legal counsel in the
United States for Family Member 1. As compensation for these efforts, in late October 2017,
Interamerican Consulting received a transfer in the amount of $5,000,000 from a PDVSA
account at Gazprom Bank in Russia. RIVERA subsequently divided this money over time
between himself, NUHFER and Individual 1.

14. In March and April 2018, DAVID RIVERA, ESTHER NUHFER, Foreign
Individual 1, and others helped arrange for U.S. Congressman | to travel to Caracas, Venezuela,
to meet with President Maduro and other members of his regime. As a result, on or about April
2, 2018, U.S. Congressman | met with President Maduro, RIVERA, Foreign Individual 1, and
others to discuss a potential process for the normalization of the relationship between the United
States and Venezuela. As part of these efforts, U.S. Congressman | agreed to deliver a letter
from President Maduro to the President of the United States requesting the United States’
support for President Maduro’s plan to normalize relations in exchange for a promise to hold free
and fair elections in the future. The following morning, U.S. Congressman 1, RIVERA, Foreign
Individual 1, and others met with Venezuelan Politician 2 and officials from the U.S. Embassy in
Caracas to discuss their meeting with President Maduro and his plan to normalize relations. As
with RIVERA’s and NUHFER’s earlier efforts, these attempts involving direct meetings
between U.S. Congressman | and President Maduro and other Venezuelan politicians were not

successful in normalizing relations between the United States and Venezuela.

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15. At no time did DAVID RIVERA and ESTHER NUHFER, and the corporate
entities they controlled, file a FARA registration statement with DOJ in connection with their
activities on behalf of the Government of Venezuela. In addition, RIVERA and NUHFER
never disclosed to any of the United States officials with whom they met that they were lobbying
on behalf of the Government of Venezuela. Instead, RIVERA and NUHFER concealed from
public scrutiny and United States officials the existence of the consulting agreement with PDV
USA, and the millions of dollars they received to lobby on behalf of the Government of
Venezuela, by failing to register as foreign agents.

OVERT ACTS

In furtherance of the conspiracy and to achieve the object and purpose thereof, at least
one of the co-conspirators committed and caused to be committed in the Southern District of
Florida, and elsewhere, at least one of the following overt acts, among others:

A. The PDV USA Consulting Contract

l. On or about February 23, 2017, ESTHER NUHFER used an encrypted text
messaging service to create a chat group called “MIA” (“the MIA Chat Group”), which included
NUHFER, DAVID RIVERA, Foreign Individual 1, and Individual 1.

2. On or about March 7, 2017, DAVID RIVERA sent an email to Foreign
Individual 1 and ESTHER NUHFER, attaching a draft one-page contract between
Interamerican Consulting and CITGO pursuant to which Interamerican Consulting would
provide “strategic consulting to [CITGO] in connection with its business in the United States”

for three months in return for $50,000,000.

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3, On or about March 20, 2017, DAVID RIVERA received an email from Foreign
Individual 2, attaching a copy of a draft consulting agreement between Interamerican Consulting
and PDV USA with the “Scope of Services” section left blank.

4, On or about March 20, 2017, DAVID RIVERA sent an email to Foreign
Individual 2 (with bec copies to ESTHER NUHFER, Foreign Individual 1, and Individual 1),
attaching a copy of the consulting agreement with the “Scope of Services” section revised to
state that Interamerican Consulting would provide “‘strategic consulting services to the CLIENT
as the CLIENT deems necessary and appropriate.”

5. On or about March 20, 2017, ESTHER NUHFER sent an email to DAVID
RIVERA titled “FARA Contracts” that contained (a) hyperlinks to FARA filings on DOJ’s
website that had been made by companies acting as agents for several foreign governments and
(b) excerpts from these filings in the body of her email that described the goals of these
companies’ agreements with the foreign governments and the services the companies agreed to
provide.

6. On or about March 20, 2017, DAVID RIVERA sent a reply email to ESTHER
NUHFER’s “FARA Contracts” email with a draft version of the “Scope of Services” to include
in the PDV USA contract, which was based on the FARA filings NUHFER included in her
email to RIVERA.

7. On or about March 20, 2017, DAVID RIVERA sent an email to Foreign
Individual 2 (with bec copies to ESTHER NUHFER, Foreign Individual 1, and Individual 1),
attaching a copy of the draft consulting agreement with the “Scope of Services” section

completed, which stated, in part, that Interamerican Consulting would “implement a multi-

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faceted strategy to reinforce CLIENT’s standing among important public officials and opinion
leaders.”

8. On or about March 21, 2017, DAVID RIVERA sent an email (in Spanish) to
ESTHER NUHFER, Foreign Individual 1, and Individual 1, attaching the signed consulting
agreement, and stating (in translation): “I think we are almost ready. Now | am just waiting for
the first ‘retainer’ in order to call [U.S. Congressman 1] and confirm the appointment in Dallas
for hopefully this weekend. We need to confirm the schedules and availability of the Foreign
Minister and [Venezuelan Politician 1] at some point.”

9. On or about March 21, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with bec copies to ESTHER NUHFER, Foreign Individual 1, and Individual 1),
attaching a copy of “Invoice #1” on Interamerican Consulting letterhead and billing “PDV USA”
for “Strategic Consulting Services” in the amount of $5,000,000.

B. New York City Meetings with U.S. Congressman 1

10. On or about March 24, 2017, Interamerican Consulting received $5,000,000 by
wire transfer from a PDV USA bank account.

11. On or about March 27, 2017, DAVID RIVERA caused Interamerican Consulting
to transfer $750,000 to Communication Solutions.

12. On or about March 27, 2017, DAVID RIVERA caused Interamerican Consulting
to transfer $625,000 to Company 2.

13. On or about March 28, 2017, DAVID RIVERA sent a text message (in Spanish)
to Foreign Individual | stating (in translation): “Tell the Minister of Foreign Affairs that the

White House is waiting for a report on this meeting. It has to take place”.

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14. On or about March 30, 2017, DAVID RIVERA sent a text message (in Spanish)
to the MIA Chat Group stating (in translation): “It’s critical. [U.S. Congressman |] does not
want to meet with the government if they are not going to meet with the opposition as well”.

15. On or about March 31, 2017, DAVID RIVERA sent an email to ESTHER
NUHFER, attaching a draft itinerary for a trip to New York City for meetings with U.S.
Congressman |, Venezuelan government officials, and others on April 1-2, 2017.

16. On or about March 31, 2017, DAVID RIVERA caused Interamerican Consulting
to send a wire transfer of $625,000 to Company 3.

17. On or about April 2, 2017, DAVID RIVERA met with U.S. Congressman | and
Delcy Rodriguez in New York City.

18. On or about April 2, 2017, DAVID RIVERA, ESTHER NUHFER, Foreign
Individual 1, and others met with U.S. Congressman | and Venezuelan Politician | at Foreign

Individual 1°s apartment in New York City.

[INTENTIONALLY LEFT BLANK]

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19. On or about April 2, 2017, ESTHER NUHFER sent a text message to the MIA

Chat Group containing a photograph of draft letters of introduction on behalf of Foreign
Individual 1 including, in part, the following letter:

April 2017

Secretary of State []

This instrument serves to convey the sentiment of the Bolivarian Republic of

Venezuela to empower [Foreign Individual 1] in the capacity as an emissary and in

coordination with [U.S. Congressman 1] to engage in discussions with the United

States Government in furtherance of normalizing the relationship between the

Bolivarian Republic of Venezuela and the United States of America.

Sincerely

Delsy Rodriguez
Minister of Foreign Affairs

C. U.S. Congressman 1 and U.S. Oil Company 1

20. On or about April 4, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “Any effort that is unilateral in its nature or which
does not include the elements of the opposition and of an electoral exit, will fail miserably”.

21. On or about April 4, 2017, ESTHER NUHFER sent a text message (in Spanish)
to the MIA Chat Group stating (in translation): “This is very important so that they can
understand that this has to be a Back Channel”.

22. On or about April 4, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “That has to be directly through [the U.S. Secretary
of State]. And from [the U.S. Secretary of State] to [the President of the United States]’”.

23. On or about April 4, 2017, DAVID RIVERA sent a text message to U.S.
Congressman |: “[Foreign Individual 1] just got word from Foreign Minister that the President

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and First Lady have sent down orders that all [U.S. Oil Company 1] activity is to be coordinated
between [Foreign Individual 1] and you only”.

24. On or about April 8, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MJA Chat Group stating (in translation): “I spoke with [U.S. Congressman 1]. The meeting
with [U.S. Oil Company 1] is on Monday at 3:00. I am going to Dallas on Monday to negotiate
details with [U.S. Oil Company 1]. I think its about time they pay the second invoice.”

25. On or about April 10, 2017, DAVID RIVERA sent an email to a PDVSA
representative, attaching a copy of “Invoice #2” on Interamerican Consulting letterhead and
billing PDV USA for “Strategic Consulting Services” in the amount of $5,000,000.

26. On or about April 10, 2017, DAVID RIVERA sent an email to Individual 2 with
“Talking Points” for U.S. Congressman 1’s meeting with [U.S. Oil Company 1] including that he
was “working with individuals . . . designated by the Government of Venezuela at the highest
level to serve as liaisons in facilitating the transfer of [U.S. Oil Company 1]’s assets back to
[U.S. Oil Company 1].”

27. On or about April 10, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MJA Chat Group stating (in translation): “J won’t know [how the meeting with U.S. Oil
Company | went] until I talk to [U.S. Congressman 1]. But up to now you can tell him that [U.S.
Congressman 1], and even so important, we, are fulfilling our commitment to Chancellor/client
in transmitting the position of V[enezuela] to the highest level of [U.S. Oil Company 1]... .”

28. On or about April 10, 2017, Interamerican Consulting received $5,000,000 by

wire transfer from a PDV USA bank account.

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29. On or about April 11, 2017, DAVID RIVERA caused Interamerican Consulting
to transfer $750,000 to Communication Solutions.

30. On or about April 11, 2017, DAVID RIVERA caused Interamerican Consulting
to transfer $625,000 to Company 2.

31. On or about April 11, 2017, DAVID RIVERA caused Interamerican Consulting
to send a wire transfer of $625,000 to Company 3.

32. On or about April 15, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “It is essential that we meet this Thursday to prevent
the invasion of troops of [the President of the United States] in Venezuela. And now J have to
send the third invoice!”

33. On or about April 18, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with bec copies to ESTHER NUHFER, Foreign Individual 1, and Individual 1),
attaching “Invoice #3” on Interamerican Consulting letterhead and billing PDV USA for
“Strategic Consulting Services” in the amount of $5,000,000.

34. On or about April 19, 2017, Interamerican Consulting received $5,000,000 by
wire transfer from a PDV USA bank account.

35. On or about April 21, 2017, DAVID RIVERA caused Interamerican Consulting
to transfer $625,000 to Communication Solutions.

36. On or about April 21, 2017, DAVID RIVERA caused Interamerican Consulting
to transfer $625,000 to Company !.

37. On or about April 21, 2017, DAVID RIVERA caused Interamerican Consulting

to send a wire transfer of $625,000 to Company 3.

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38. On or about April 21, 2017, DAVID RIVERA sent an email to US.
Congressman | and Individual 2 with a draft letter from “Delcy Rodriguez, Minister of Foreign
Affairs” to [U.S. Oil Company 1]’s general counsel requesting a meeting at [U.S. Oil Company
1]’s headquarters in the United States with herself and Venezuela’s “Energy Minister”.

39. On or about April 26, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with bec copies to ESTHER NUHFER and Foreign Individual 1), attaching
“Invoice #4” on Interamerican Consulting letterhead and billing PDV USA for “Strategic
Consulting Services” in the amount of $5,000,000.

40. On or about May 1, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with bec copies to ESTHER NUHFER and Foreign Individual 1) with a “PDV
USA Progress Report,” which stated, in part, that Interamerican Consulting had “organized
meetings for the Client with important policy makers and opinion leaders in the United States as
part of the strategy to build long-term relationships among key public sector stakeholders in the
United States.”

41. On or about May 29, 2017, DAVID RIVERA sent an email to Individual 1
(versions of which RIVERA also sent to ESTHER NUHFER and Individual 2) with a draft
statement addressed to Foreign Individual | relating to the “concerns and frustrations expressed
by the client,” and explaining (a) that U.S. Oil Company 1 had rejected U.S. Congressman 1’s
request to meet directly with Venezuelan government officials to discuss a resolution of their
pending legal dispute because U.S. Oil Company 1 preferred to have their attorneys address any
settlement issues, (b) that the Venezuelan government officials should emphasize that they also

wanted to meet with U.S. Oil Company 1| executives to discuss new business opportunities in

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Venezuela for U.S. Oil Company 1, (c) that “the best backchannel avenue to resolve
V[enezuela]’s situation with [U.S. Oil Company 1]” was for Venezuela “to make the meeting
request via [U.S. Oil Company 1]’s email address” while [U.S. Congressman 1] “put pressure on
[U.S. Oil Company 1] to accept the meeting,” and (d) that, if Venezuela was unwilling to do so,
suggesting that “we return the last payment and either terminate our efforts or return our focus to
the original intent which was to work toward normalizing relations.”

42. On or about May 30, 2017, DAVID RIVERA received an email (in Spanish)
from a CITGO representative stating (in translation) that the “contract originally signed with
PDV USA must be assigned to PDVSA” and that RIVERA should issue the two pending
invoices and the final invoice to PDVSA in Caracas, Venezuela.

43. On or about May 30, 2017, DAVID RIVERA sent an email to a PDVSA
representative, attaching the last three invoices on Interamerican Consulting letterhead and
billing PDVSA in Caracas, Venezuela, for “Strategic Consulting Services” in the amount of
$35,000,000.

44. On or about May 31, 2017, ESTHER NUHFER sent a text message to DAVID
RIVERA and Individual 1: “We should not have to return a penny.”

45, On or about May 31, 2017, DAVID RIVERA forwarded to ESTHER NUHFER
an email he received from a CITGO attorney asking for RIVERA’s consent to assign the
consulting contract from PDV USA to PDVSA, stating: “Call me. I don’t think there’s any way

we can do this.”

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46. On or about June 7, 2017, ESTHER NUHFER sent a text message (in Spanish)
to DAVID RIVERA and Individual | stating (in translation): “Hopefully, they get more
sanctions & we can go back to the original agenda.”

47, On or about June 7, 2017, ESTHER NUHFER sent a text message (in Spanish)
to DAVID RIVERA and Individual | stating (in translation): “Remember that [White House
Advisor 1] arrives 6/27... .”

D. White House Advisor I

48. Onor about June 20, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “[Foreign Individual |], good morning. They are
calling me from the White House about the possible flight of [White House Advisor 1] in your
airplane next week. Is that still a possibility?”

49. On or about June 22, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “The six-hour meeting with [the President of the
United States]’s counselor . . . is more important than the mecting with [the Vice-President of the
United States], because she made him president directing his campaign. And she works at his
side every day.”

50. On or about June 22, 2017, DAVID RIVERA sent a text message to the MIA
Chat Group, containing a draft letter of introduction from President Maduro to several U.S.
public officials:

To Whom It May Concern: Please know that the bearer of this letter, [Foreign
Individual 1], has been designated by me as my personal Special Envoy on resolving
bilateral issues surrounding the U.S.-Venezuela relationship. [Foreign Individual 1]

has my full confidence and is empowered and authorized to negotiate all relevant
issues on my behalf. Sincerely, E] Guaguero

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51. On or about June 22, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “This is what we need”.

52. On or about June 22, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “And for you to convince [the President of the
United States], [the Vice-President of the United States], [White House Advisor 1], [the U.S.
Secretary of State], etc. that the bus driver is truly interested in an electoral solution, [Foreign
Individual 1] needs the letter designating him as the bus driver’s personal envoy”.

53. On or about June 22, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group: “They have to empower you if they are serious. But, in any case, let’s
continue with the goals of the contract in order to take it where they want.”

E. Meetings with U.S. Senator I

54. On or about July 9, 2017, DAVID RIVERA flew from Florida to Washington
D.C. to meet with U.S. Senator 1.

55. | Onor about July 9, 2017, DAVID RIVERA met with U.S. Senator | at a private
residence in Washington, D.C. and told him that RIVERA was working with Foreign Individual
1, who had persuaded President Maduro to accept a deal whereby President Maduro would hold
free elections in Venezuela.

56. On or about July 10, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “[U.S. Senator 1] will be with [the President of the
United States] at 9:00 AM tomorrow to tell him that he has the possibility in his hands to solve

the crisis of V[enezuela]. We have to meet with him and [Venezuelan Politician 2] tomorrow in

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57. On or about July 11, 2017, DAVID RIVERA sent a text message to U.S. Senator
1: “Remember, US should facilitate, not just support, a negotiated solution.”

58. On or about July 11, 2017, DAVID RIVERA sent a text message to U.S. Senator
1: “No vengeance, reconciliation”.

59. On or about July 11, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “[U.S. Senator 1] just called me. The bus driver has
to give guarantees for December’s election.”

60. On or about July 12, 2017, DAVID RIVERA, ESTHER NUHFER, Individual
1, Foreign Individual 1, U.S. Senator 1, Venezuelan Politician 2 (by telephone), and others met
at a hotel in Washington, D.C. to discuss Venezuelan affairs.

61. On or about July 14, 2017, ESTHER NUHFER sent a text message to DAVID
RIVERA: “Call [Individual 1] now”.

62. On or about July 14, 2017, ESTHER NUHFER sent a text message to DAVID
RIVERA: “No more mtgs until we get a slice”.

63. On or about July 14, 2017, DAVID RIVERA sent a text message to ESTHER
NUHFER: “Tell [Individual 1] to tell his new BFF the bus driver to pay us for the mtg w [U:S.
Senator 1]. Since there will b no turkey wout him”’.

64. On or about July 18, 2017, DAVID RIVERA received a text message (in
Spanish) from Individual 1: “I talked to [Foreign Individual 1], the meeting is tonight”.

65. On or about July 18, 2017, DAVID RIVERA sent a text message (in Spanish) to
the MIA Chat Group stating (in translation): “[Foreign Individual 1] just called me. He said that

he has tried very hard to bring the parties together but there is nothing further to discuss w the

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bus driver. [Foreign Individual 1] says it’s time to unfold Maduro completely. He says no
mercy. Repeat, NO MERCY!”

F, Venezuelan Sanctions

66. On or about August 30, 2017, DAVID RIVERA sent a text message (in Spanish)
to the MIA Chat Group stating (in translation): “Summary of last night. First: the nephew: 5
melons of retainer and 5 melons when resolved. Second: the aunt and her children: 10 melons.
Third: resolve the crisis: 25 melons.”

67. On or about August 30, 2017, DAVID RIVERA sent a text message (in Spanish)
to the MIA Chat Group stating (in translation): “Good morming . . . I’m going to call the
Sombrero today for the meeting in Dallas”.

68. On or about September 7, 2017, ESTHER NUHFER sent a text message (in
Spanish) to the MIA Chat Group stating (in translation): “Hi, I already have the invoice
prepared. Do we send to the same place?”

69. On or about September 7, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with bec copies to ESTHER NUHFER and Foreign Individual 1), attaching
“Invoice #4” and “Invoice #5” on Interamerican Consulting letterhead and billing PDV USA for
“Strategic Consulting Services” in the amount of $10,000,000.

70. On or about September 25, 2017, DAVID RIVERA sent a text message (in
Spanish) to the MIA Chat Group stating (in translation): “[Foreign Individual 1], I just spoke
again with our friend in the White House. She tells me that she is willing to help any way she

can. The faster The Light arrives, the faster the engines will start.”

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71. On or about September 26, 2017, DAVID RIVERA sent a text message to the
MIA Chat Group stating: “[Attorney 1] is your guy-will connect you soon-he is unreachable
today — his [law] firm gets people off the [sanctions] list regularly; has one guy assigned to task”.

72. On or about September 26, 2017, DAVID RIVERA sent a text message (in
Spanish) to the MIA Chat Group stating (in translation): “The friend just sent me this text”.

73. On or about September 26, 2017, DAVID RIVERA sent an email to Foreign
Individual 1 (with a bec copy to ESTHER NUHFER), attaching an amendment to the
consulting agreement between Interamerican Consulting and PDV USA increasing the total
compensation under the contract to $60,000,000.

74. On or about October 5, 2017, DAVID RIVERA sent a text message (in Spanish)
to the MIA Chat Group stating (in translation):

[Foreign Individual 1], I just talked to [Foreign Individual 2]. He asked me for two
things. 1. That J sign the transfer of the contract from PDV USA to PDVSA Caracas.
2. That I send a report justifying the first three payments. About 1. Just as it was
impossible to transfer it when asked for four months ago, it is even more impossible
to transfer it now, as it would harm our efforts for [Family Member 1]. It would be
impossible to resolve [Family Member 1]’s situation based on a contract with an
entity that OFAC considers a source of income for people already sanctioned and
that at this moment is sanctioned by OFAC (particularly, if [U.S. Senator 1] will be
involved). And secondly, a contract with PDVSA Caracas requires registering with
FARA (Foreign Agent[s] Registration Act), which my attorney has told me is
currently illegal due to [the President of the United States]’s sanctions on PDVSA,
and not to touch it with a 50-foot pole, but it would be a scandal of monumental
proportions. I have no problem allocating contract payments at PDV USA’s
discretion, to give you flexibility in payment sources, but to have a contract with
PDVSA Caracas would make our efforts impossible. As to the report, I have no
problem doing it, but we have to decide what we’re going to put in the report. I
await your advice... .”

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75. On or about October 16, 2017, ESTHER NUHFER sent a text message to
DAVID RIVERA: “They better hurry & drop that light in Doral before [Family Member 1] is
fkd”.

76. On or about October 18, 2017, ESTHER NUHFER sent a text message to
DAVID RIVERA: “Where is the slice for [Family Member 1]?”

77. On or about October 19, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with bec copies to ESTHER NUHFER and Foreign Individual 1), attaching
“Invoice #4” on Interamerican Consulting letterhead and billing PDV USA for “Strategic
Consulting Services” in the amount of $5,000,000.

78. On or about October 27, 2017, Interamerican Consulting received a transfer in the
amount of $5,000,000 from a PDVSA account at Gazprom Bank in Russia.

79. On or about November 7, 2017, DAVID RIVERA caused Interamerican
Consulting to transfer $1,000,000 to Communication Solutions.

80. On or about November 7, 2017, DAVID RIVERA caused Interamerican
Consulting to transfer $1,100,000 to Company 1.

81. On or about December 31, 2017, DAVID RIVERA sent an email to a PDVSA
representative (with a bec copy to ESTHER NUHFER) with two invoices from Interamerican
Consulting to PDV USA totaling $30,000,000 and a “Final Progress Report[]” in which
RIVERA asserted that Interamerican Consulting had “successfully positioned the Client .. . to
achieve its ... goals and objectives of inform[ing] policy makers and opinion leaders regarding .

. . issues of concern between the Client and important actors in the United States .. . first with

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public sector stakeholders of interest to the Client, then with private sector stakeholders .. . and
finally .. . reengaging with public sector stakeholders of interest to the Client.”

G. U.S. Congressman 1 Meets with President Maduro

82. On or about March 23, 2018, ESTHER NUHFER sent an email to DAVID
RIVERA containing a revised letter of invitation from the Foreign Minister of Venezuela to the
Acting U.S. Secretary of State inviting U.S. Congressman | “to travel to Venezuela and meet
with President Maduro and other government officials on matters of mutual concern to our two
countries.”

83. On or about March 29, 2018, DAVID RIVERA sent an email to Foreign
Individual | with a draft letter from President Maduro to [the President of the United States]
regarding, in part, his “good-faith desire[] to take steps that will facilitate the reestablishment of
normal relations between the United States and Venezuela . . . through free, fair and
internationally recognized democratic elections.”

84. On or about April 2, 2018, DAVID RIVERA, Individual 1, Individual 2, and
others, travelled on Foreign Individual 1’s private jet from Opa-Locka, Florida, to Caracas,
Venezuela.

85. On or about April 2, 2018, DAVID RIVERA, U.S. Congressman 1, Foreign
Individual 1, and others met with President Maduro and other members of his regime, in
Caracas, Venezuela.

86. On or about April 3, 2018, DAVID RIVERA, U.S. Congressman 1, Foreign
Individual 1, and others met with Venezuelan Politician 2 and U.S. Embassy officials at the

home of Foreign Individual | in Venezuela.

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87. | On or about April 5, 2018, DAVID RIVERA sent an email to Foreign Individual
1 (with bec copies to ESTHER NUHFER and Individual 1) containing a “final” version of a
letter from President Maduro to the President of the United States stating, in part, President
Maduro’s hope that the United States would “demonstrat[e] its willingness to recognize the
outcome of a democratic election [in Venezuela] with normalization of the diplomatic, political,
and economic relationship between our two governments.”

88. On or about April 5, 2018, DAVID RIVERA sent an email to Foreign Individual
1 (with a bec copy to ESTHER NUHFER) containing a letter from U.S. Congressman | to
President Maduro, thanking President Maduro for the meeting and reiterating the United States’
commitment to “free, fair and internationally supervised” elections in Venezuela.

H. Rivera’s Distribution of Funds and Attempts to Collect Final Payment

89. Onor about July 11, 2018, DAVID RIVERA caused Interamerican Consulting to
transfer $104,333 to Communication Solutions.

90. On or about July 11, 2018, DAVID RIVERA caused Interamerican Consulting to
transfer $204,333 to Company 1.

9]. On or about December 18, 2018, DAVID RIVERA sent an email to a CITGO
employee asking for an update as to the payment status of the final two invoices for $30,000,000.

92. On or about December 28, 2018, DAVID RIVERA sent an email to ESTHER
NUHFER forwarding CITGO’s response, which stated, in part, that “[n]o CITGO entity has
ever had any involvement with or obligations under the Agreement. We suggest you reach out to
PDVSA to discuss your questions relating to the Consulting Agreement.”

All in violation of Title 18, United States Code, Section 371.

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COUNT 2
Failure to Register as a Foreign Agent
(22 U.S.C. §§ 612(a) and 618(a)(1))
1. Paragraphs | through 26 of the General Allegations Section of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth herein.
2. From in or around February 2017, and continuing through in or around December
2018, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants,
DAVID RIVERA
and
ESTHER NUHFER,
did willfully act and cause others to act in the United States as an agent of a foreign principal, to
wit, the Government of Venezuela, without registering with the Attorney General as required by
law, in violation of Title 22, United States Code, Sections 612(a) and 618(a)(1), and Title 18,
United States Code, Section 2.
COUNT 3
Conspiracy to Commit Money Laundering
(18 U.S.C. § 1956(h))
l. Paragraphs | through 26 of the General Allegations Section of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth herein.
2. From in or around February 2017, and continuing through in or around December
2018, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendants,
DAVID RIVERA
and
ESTHER NUHFER,

did knowingly and voluntarily combine, conspire, confederate, and agree with each other, to

knowingly engage in a monetary transaction affecting interstate and foreign commerce, by,

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through, and to a financial institution, in criminally derived property of a value greater than
$10,000, such property having been derived from a specified unlawful activity, and knowing that
the property involved in the financial transaction represented the proceeds of some form of
unlawful activity, in violation of Title 18, United States Code, Section 1957.

It is further alleged that the specified unlawful activity was willfully acting and causing
others to act in the United States as an agent of a foreign principal, to wit, the Government of
Venezuela, without registering with the Attorney General as required by law, in violation of Title
22, United States Code, Sections 612(a) and 618(a)(1), and Title 18, United States Code, Section
2.

All in violation of Title 18, United States Code, Section 1956(h).

COUNTS 4-8
Engaging in Transactions in Criminally Derived Property
(18 U.S.C. § 1957)

1. Paragraphs | through 26 of the General Allegations Section of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth herein.

2. On or about the dates set forth in each Count below, in the Southern District of
Florida and elsewhere, the defendants,

DAVID RIVERA
and
ESTHER NUHFER,
did knowingly engage in, and attempt to engage in, monetary transactions in and affecting
interstate and foreign commerce, by, through, and to a financial institution, in criminally derived

property of a value greater than $10,000, such property having been derived from a specified

unlawful activity, and knowing that the property involved in the financial transaction represented

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the proceeds of some form of unlawful activity, as more particularly described in each Count

below:

Count Defendant(s) Approximate Description of Transaction
Date (Approximate Amounts)

4 DAVID RIVERA 12/29/2017 Transfer of $50,746.56 from
Interamerican Consulting’s
JPMorgan Chase account (x1682)
by check #1119 payable to
SunTrust Bank for payment on a
loan against 10925 N.W. 43rd
- Lane, Doral, Florida

5 DAVID RIVERA 01/09/2018 Deposit of check #1068 in the
amount of $300,000.00 from
Interamerican Consulting’s
JPMorgan Chase account (x1682)
to Florida First account at First
American Bank (x0801)_ re
“marketing”

6 ESTHER NUHFER 05/07/2018 Wire transfer of $455,704.09 from
Communication Solutions Wells
Fargo account (x3419) to Law
Firm 1’s account at BB&T Bank
(x6476) for the purchase of 21
Sadowski Causeway, Key Colony
Beach, Florida

7 DAVID RIVERA 07/19/2018 Withdrawal of $297,148.64 from
Florida First’s account at First
American Bank (x0801) to
purchase official bank check from
First American Bank payable to
DAVID RIVERA

8 DAVID RIVERA 07/19/2018 Deposit of official bank check
from First American Bank in the
amount of $297,148.64 to the
David M_ Rivera Campaign
Account at SunTrust’ Bank
(x9982)

It is further alleged that the specified unlawful activity was willfully acting and causing

others to act in the United States as an agent of a foreign principal, to wit, the Government of

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Venezuela, without registering with the Attorney General as required by law, in violation of Title
22, United States Code, Sections 612(a) and 618(a)(1), and Title 18, United States Code, Section
2.

In violation of Title 18, United States Code, Sections 1957 and 2.

COUNT 9
Making and Subscribing a False Tax Return
(26 U.S.C. § 7206(1))

1. Paragraphs | through 10, 15 through 17, and 20 and 21 of the General Allegations
Section of this Superseding Indictment are re-alleged and incorporated by reference as though
fully set forth herein.

2. From in or around November 2017, and continuing through in or around June
2018, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

DAVID RIVERA,

did willfully make and subscribe, and cause to be made and subscribed, and filed and caused to
be filed with the Internal Revenue Service (“IRS”), a false corporate tax return on Form 1120S
for Interamerican Consulting for calendar year 2017, which was verified by a written declaration
that it was made under the penalties of perjury and which RIVERA did not believe to be true
and correct as to every material matter, as further described below, in part:

a. In or around November 2017, DAVID RIVERA retained a tax preparer
(“Tax Preparer 1”) with whom he had no prior relationship to prepare RIVERA’s personal and
corporate tax returns for calendar year 2017;

b. In or around November 2017, as a preliminary step to completing his

personal and corporate tax returns for calendar year 2017, DAVID RIVERA agreed to provide

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Tax Preparer | with copies of Interamerican Consulting’s bank statements for calendar year 2017
so that Tax Preparer 1 could complete financial statements for the company;

C. On or about December 5, 2017, DAVID RIVERA sent an email to Tax
Preparer 1 and his assistant attaching (i) an excel spreadsheet that listed various expenses
incurred by Interamerican Consulting during 2017, including several transactions RIVERA
falsely described as “Marketing” expenses; and (11) copies of Interamerican Consulting’s bank
statements through November 2017 for several corporate accounts the company maintained at
JPMorgan Chase;

d. DAVID RIVERA subsequently sent Tax Preparer 1 and his assistant
several emails with copies of additional bank account statements for Interamerican Consulting’s
corporate accounts at JPMorgan Chase for December 2017 and January 2018;

e. At no time did DAVID RIVERA provide Tax Preparer | or his assistant
with copies of the checks reflected on the JPMorgan Chase bank statements, including for the
transactions falsely described as “Marketing” expenses on the excel spreadsheet transmitted on
December 5, 2017;

f. On or about June 18, 2018, DAVID RIVERA signed a Form 8879S for
Interamerican Consulting declaring under penalties of perjury that RIVERA had examined the
Form 1120S and that to the best of his knowledge it was “true, correct, and complete”;

g. On or about June 19, 2018, DAVID RIVERA caused Tax Preparer | to
file with the IRS Interamerican Consulting’s Form 1120S for calendar year 2017 that falsely

reported on line 21 of the Form 1120S that the company had ordinary business income of

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$4,274,787 for calendar year 2017, consisting, in general, of $20,000,000 in gross receipts or
sales reduced by total deductions in the amount of $15,725,213;

h. The $15,725,213 in total deductions reported on  Interamerican
Consulting’s 2017 Form 1120S included a deduction for $551,213 in unspecified “advertising”
expenses;

1. In truth and in fact, the purported $551,213 in “advertising” expenses
consisted of non-deductible payments DAVID RIVERA caused Interamerican Consulting to
make in 2017 for his personal benefit, including three principal payments on RIVERA’s home
equity line of credit on his residence in Doral, Florida, two contributions to RIVERA’s official
campaign account at SunTrust Bank for the 2018 General Election, and a contribution to

RIVERA’s PAC, Florida First, as more particularly described below:

Date Check | Amount Payee Memo Line | Actual Use
03/28/17 | #1091 | $26,291.97 “SunTrust Bank” “payoff” Loan payment (HELOC)
04/22/17 | #1094 | $99,174.40 “David Rivera” “transfer” Deposit to campaign account
05/31/17 _| #1099 | $50,000.00 “David Rivera Campaign”) “loan” Deposit to campaign account
10/30/17 | #1110 | $25,000.00 “SunTrust Bank” Loan payment (HELOC)
12/28/17 | #1119 | $50,746.56 “SunTrust” Loan payment (HELOC)
12/28/17 | #1068 | $300,000.00 | ‘Florida First” “marketing” | Deposit to PAC account

j. In his communications with Tax Preparer 1 and his assistant, DAVID

RIVERA falsely represented at various times orally and in writing (i) that all six of the above-
described transactions were for “marketing” expenses incurred by Interamerican Consulting and
(ii) that the vendor for the first five transactions listed above was Communication Solutions;

k. In addition, DAVID RIVERA caused Interamerican Consulting to fail to

report additional income in the amount of $100,000 on its 2017 Form 1120S;

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1. On or about November 18, 2017, shortly after DAVID RIVERA first met
with Tax Preparer 1, RIVERA opened a corporate bank account for Interamerican Consulting at
a Wells Fargo branch in Miami, Florida, and deposited a $100,000 check payable to
Interamerican Consulting that represented the final payment from a 2013 contract between
Interamerican Consulting and a real estate development company based in Miami, Florida;

m. DAVID RIVERA subsequently used the $100,000 deposited to the
Interamerican Consulting Wells Fargo account for his personal benefit including writing a check
for approximately $25,000 payable to SunTrust Bank on or about November 30, 2017
(characterized on the memo line as “marketing’”’) for a principal payment on RIVERA’s home
equity line of credit on his home in Doral, Florida;

n. At no time between November 2017 and the filing on June 19, 2018, of
Interamerican Consulting’s Form 1120S did DAVID RIVERA inform Tax Preparer 1 or his
assistant that Interamerican Consulting had received an additional $100,000 in revenue in 2017,
nor did RIVERA disclose to them the existence of the newly-opened Wells Fargo corporate
account or provide them with copies of the relevant bank statements;

0. As a result of the above-described events, Interamerican Consulting’s
Form 1120S for calendar year 2017 misrepresented that the company had ordinary business
income in the amount of $4,274,787 on line 21 of the Form 1120S by falsely claiming as a
deduction $551,213 in purported “advertising” expenses and failing to include the $100,000 that
DAVID RIVERA deposited into Interamerican Consulting’s Wells Fargo account in the
company’s gross receipts or sales.

In violation of Title 26, United States Code, Section 7206(1).

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COUNT 10
Making and Subscribing a False Tax Return
(26 U.S.C. § 7206(1))

1. Paragraphs | through 10, 15 through 17, and 20 and 21 of the General Allegations
Section and paragraphs 2(a) through 2(0) of Count 9 of this Superseding Indictment are re-
alleged and incorporated by reference as though fully set forth herein.

2. From in or around November 2017, and continuing through in or around October
2018, in Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

DAVID RIVERA,
did willfully make and subscribe, and cause to be made and subscribed, and filed and caused to
be filed with the IRS, a false personal tax return on Form 1040 for him and his wife for calendar
year 2017, which was verified by a written declaration that it was made under the penalties of
perjury and which RIVERA did not believe to be true and correct as to every material matter in
that the tax return falsely reported on line 22 of the Form 1040 total income of $4,550,217,
including $4,274,787 in Schedule E income from Interamerican Consulting.

In violation of Title 26, United States Code, Section 7206(1).

COUNT 11
Attempting to Evade or Defeat Tax
(26 U.S.C. § 7201)

1. Paragraphs | through 10, 15 through 17, and 20 and 21 of the General Allegations
Section of this Superseding Indictment are re-alleged and incorporated by reference as though
fully set forth herein.

2. From in or around June 2018, and continuing through in or around July 2019, in

Miami-Dade County, in the Southern District of Florida, and elsewhere, the defendant,

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DAVID RIVERA,
did willfully attempt through various affirmative acts to evade and defeat income tax due and
owing by him and his spouse to the United States of America for calendar year 2018, as further
described below, in part:

Description of Scheme to Evade

a. On or about August 3, 2018, DAVID RIVERA sent an email to Law
Firm 2, instructing the firm to send by wire transfer to RIVERA’s campaign account at SunTrust
Bank for the 2018 General Election the remaining portion of an approximately $1,000,000
retainer fee that Interamerican Consulting had paid to Law Firm 2 in or about December 2017,
which Interamerican Consulting had taken as a deduction in the amount of approximately
$1,000,000 on its 2017 Form 1120S filed with the IRS on or about June 19, 2018;

b. At the time DAVID RIVERA instructed Law Firm 2 to send the wire
transfer to his campaign account at SunTrust Bank, RIVERA had already dropped out of the
race for state office in the 2018 General Election by failing to file required disclosure forms with
the Florida Division of Elections in June 2018;

Cc. On or about September 20, 2018, DAVID RIVERA filed a “termination
report” for his campaign account at SunTrust Bank for the 2018 General Election with the
Florida Division of Elections that falsely claimed that RIVERA had disbursed a total of
approximately $389,992 from his campaign account from June 23, 2018, to the date of the filing,
including falsely claiming to have made (i) an approximately $50,000 charitable contribution to a
high school in Miami, Florida, on September 20, 2018, and (ii) an approximately $336,821 “loan

repayment” to himself on September 20, 2018;

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d. By filing the termination report that falsely inflated the disbursements
made from his campaign account, DAVID RIVERA was able to create the appearance that the
total purported disbursements from his campaign account ($404,900) equaled the total purported
contributions deposited to the account ($404,900) that RIVERA had reported to the Florida
Division of Elections, resulting in an apparent zero balance in the account, when in truth and in
fact the campaign account had a balance of approximately $1,355,451 as of September 30, 2018;

e. At various times starting in September 2018, DAVID RIVERA used the
funds in his campaign account at SunTrust Bank — including the approximately $902,792 in legal
fees Law Firm 2 returned to RIVERA ~— to pay for various personal expenses directly from the
campaign account and to make transfers of the funds to other personal and corporate bank
accounts RIVERA controlled;

f. On or about July 15, 2019, DAVID RIVERA filed and caused to be filed
with the IRS a personal tax return on Form 1040 for him and his wife for calendar year 2018 that
failed to declare as income the approximately $902,792 that RIVERA had instructed Law Firm
2 to send to his campaign account at SunTrust Bank, and instead reported total taxable income
for him and his wife of $59,689 on line 10 of the Form 1040 with a total tax purportedly due and
owing of zero dollars;

Affirmative Acts

g. On or about August 3, 2018, DAVID RIVERA sent an email to personnel
in the Miami, Florida, branch office of Law Firm 2 instructing the firm to return the remaining
funds from Interamerican Consulting’s approximately $1,000,000 retainer fee to RIVERA’s

campaign account at SunTrust Bank;

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h. On or about August 15, 2018, DAVID RIVERA caused Law Firm 2 to
send approximately $902,792 by wire transfer to RIVERA’s campaign account at SunTrust
Bank;

i. On or about September 20, 2018, DAVID RIVERA filed with the Florida
Division of Elections a “termination” report for his campaign account at SunTrust Bank falsely
alleging that he had disbursed a total of approximately $389,992 from the account between June
23, 2018, and September 20, 2018;

j. On or about July 15, 2019, DAVID RIVERA filed and caused to be filed
with the IRS a personal income tax return on Form 1040 for him and his wife for calendar year
2018 that failed to report as income the approximately $902,792 sent to his campaign account by
Law Firm 2.

In violation of Title 26, United States Code, Section 7201.

FORFEITURE ALLEGATIONS

1. The allegations of this Superseding Indictment are re-alleged and by this
reference fully incorporated herein for the purpose of alleging forfeiture to the United States of
America of certain property in which the defendants, DAVID RIVERA and ESTHER
NUHFER, have an interest.

2. Upon conviction of a violation, or conspiracy to commit a violation, of Title 22,
United States Code, Sections 612 and 618, as alleged in this Superseding Indictment, the
defendant shall forfeit tc the United States any property, real or personal, which constitutes or is
derived from proceeds traceable to such offense, pursuant to Title 18, United States Code,

Section 98 1(a)(1)(C).

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3. Upon conviction of a violation of Title 18, United States Code, Section 1956

and/or 1957, as alleged this Superseding Indictment, the defendant shall forfeit to the United

States any property, real or personal, involved in such offense, and any property traceable to such

property, pursuant to Title 18, United States Code, Section 982(a)(1).

4, The property subject to forfeiture as a result of the alleged offenses includes, but

is not limited to, the following:

a. A sum of at least $23,750,000.00 in U.S. currency, which represents the
total amount of funds involved in or derived from the alleged offenses and
may be sought as a forfeiture money judgment;

b. Wells Fargo Securities brokerage account no. 6423-2614, held in the name
of ESTHER NUHFER;

C. Real property located at 2665 S.W. 37th Avenue, Unit 504, Miami,
Florida 33133;

d. Real property located at 1673 Pink Dogwood Way, Oviedo, Florida
32765;

e. Real property located at 21 Sadowski Causeway, Key Colony Beach,
Florida 33051; and

f. Real property located at 10925 N.W. 43rd Lane, Doral, Florida 33178.

5. If any of the property subject to forfeiture, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;

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C. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided
without difficulty,

the United States shall be entitled to the forfeiture of substitute property under the provisions of
Title 21, United States Code, Section 853(p). Such substitute property includes, but is not limited
to, the following:

a. Real property located at 3060 Fleet Street, Marietta, Georgia 30064;

b. Real property located at 549 Bethesda Court, Oviedo, Florida 32765;

C. Real property located at 13604 SW 83rd Court, Palmetto Bay, Florida

33158; and
d. Real property located at 2188 Ellis Mountain Drive, S.W., Marietta,

Georgia 30064.

[INTENTIONALY LEFT BLANK]

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA CASE NO.: 22-20552-CR-DRG(s)

v.

CERTIFICATE OF TRIAL ATTORNEY

DAVID RIVERA and ESTHER NUHFER,

/ Superseding Case Information:
Defendants. New Defendant(s) (Yes or No) No
Court Division (select one) Number of New Defendants 0
Miami [Key West [FTP Total number of new counts 3

DOFTL CF} WPB

I do hereby certify that:

1.

2.

I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
witnesses and the legal complexities of the Indictment/Information attached hereto.

I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

Interpreter: (Yes or No) No
List language and/or dialect:

This case will take !!-20 days for the parties to try.

Please check appropriate category and type of offense listed below:

(Check only one) (Check only one)
| [£] Oto 5 days CF Petty

Il £) 6to 10 days DE Minor

Ill E111 to 20 days [7] Misdemeanor
IV E121 to 60 days E] Felony

V_ £161 days and over

Has this case been previously filed in this District Court? (Yes or No) Yes

If yes, Judge Gayles Case No, 22-20552-CR-DPG
Has a complaint been filed in this matter? (Yes or No) No

If yes, Magistrate Case No.
Does this case relate to a previously filed matter in this District Court? (Yes or No) No

If yes, Judge Case No.

Defendant(s) in federal custody as of
Defendant(s) in state custody as of
Rule 20 from the ______ District of

Is this a potential death penalty case? (Yes or No) No

Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office
prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No

Does this case originate from a matter pending in the Central Region of the U.S. Attorney’s Office

prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No) No

Did this matter involve the participation of or consultation with now Magistrate Judge Eduardo |. Sanchez
during his tenure at the U.S. Attorney’s Office, which concluded on January 22, 2023? Yes

By: — 4 f & Cnt

Harold E. Schimkat
Assistant United States Attorney

Court ID No. A5500567

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All pursuant to Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(1), and the
procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 18,

United States Code, Section 982(b)(1) and Title 28, United States Code, Section 2461(c).

A TRUE BIL

FOREPERSON

Eo:
MARKENZY LAPOINTE
UNITED STATES ATTORNEY

HAROLD E. SCHIMKAT
ASSISTANT UNITED STATES ATTORNEY

oy

DANIEL BERNSTEIN |
ASSISTANT UNITED STATES ATTORNEY

MENNO GOEDMAN

TRIAL ATTORNEY
COUNTERINTELLIGENCE &
EXPORT CONTROL SECTION
NATIONAL SECURITY DIVISION
U.S. DEPARTMENT OF JUSTICE

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: DAVID RIVERA

Case No: — 22-20552-CR-DPG(s)

Count #: 1

Conspiracy to Commit Offense Against the United States

Title 18 United States Code, Section 371

* Max. Term of Imprisonment: Five (5) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: greater of $250,000 or twice the pecuniary gain derived from the offense

Counts #: 2

Failure to Register as a Foreign Agent

Title 22 United States Code, Sections 612(a) and 618(a)(1)

* Max. Term of Imprisonment: Five (5) years’ imprisonment as to each count

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: greater of $250,000 or twice the pecuniary gain derived from the offense

Count #: 3

Conspiracy to Commit Money Laundering

Title 18 United States Code, Section 1956(h)

* Max. Term of Imprisonment: Ten (10) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Three (3) years

* Max. Fine: $250,000

Counts #: 4-5, 7-8

Engaging in Transactions in Criminally Derived Property

Title 18 United States Code, Section 1957

* Max. Term of Imprisonment: Ten (10) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: $250,000 or not more than twice the amount of the criminally derived property
involved in each count

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: DAVID RIVERA

Case No: _22-20552-CR-DPG(s)

Counts #: 9-10

Making and Subscribing a False Tax Return

Title 26 United States Code, Section 7206(1)

* Max. Term of Imprisonment: Three (3) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: One (1) year

* Max. Fine: greater of $250,000 or twice the pecuniary gain derived from the offense

Count #: 11

Attempting to Evade or Defeat Tax

Title 26 United States Code, Section 7201

* Max. Term of Imprisonment: Five (5) years’ imprisonment as to each count

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: greater of $250,000 or twice the pecuniary gain derived from the offense

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

Defendant's Name: ESTHER NUHFER

Case No:

Count #: 1

Conspiracy to Commit Offense Against the United States

Title 18 United States Code, Section 371

* Max. Term of Imprisonment: Five (5) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: greater of $250,000 or twice the pecuniary gain derived from the offense

Counts #: 2

Failure to Register as a Foreign Agent

Title 22 United States Code, Sections 612(a) and 618(a)(1)

* Max. Term of Imprisonment: Five (5) years’ imprisonment as to each count

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: greater of $250,000 or twice the pecuniary gain derived from the offense

Count #: 3

Conspiracy to Commit Money Laundering

Title 18 United States Code, Section 1956(h)

* Max. Term of Imprisonment: Ten (10) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A
* Max. Supervised Release: Three (3) years

* Max. Fine: $250,000

Count #: 6

Engaging in Transactions in Criminally Derived Property

Title 18 United States Code, Section 1957

* Max. Term of Imprisonment: Ten (10) years’ imprisonment

* Mandatory Min. Term of Imprisonment (if applicable): N/A

* Max. Supervised Release: Three (3) years

* Max. Fine: $250,000 or not more than twice the amount of the criminally derived property
involved in each count

*Refers only to possible term of incarceration, supervised release and fines. It does not include
restitution, special assessments, parole terms, or forfeitures that may be applicable.
